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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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 SUPERB MOTORS INC., TEAM AUTO SALES LLC,
 ROBERT ANTHONY URRUTIA, 189 SUNRISE                                  Case No.: 2:23-cv-6188 (DG) (ST)
 HWY AUTO LLC, NORTHSHORE MOTOR
 LEASING, LLC, BRIAN CHABRIER, individually and                       DECLARATION OF
 derivatively as a member of NORTHSHORE MOTOR                         EMANUEL KATAEV, ESQ. IN
 LEASING, LLC, JOSHUA AARONSON, individually                          SUPPORT OF PLAINTIFFS’
 and derivatively as a member of 189 SUNRISE HWY                      MOTION FOR A TEMPORARY
 AUTO, LLC, JORY BARON, 1581 HYLAN BLVD                               RESTRAINING ORDER,
 AUTO LLC, 1580 HYLAN BLVD AUTO LLC, 1591                             PRELIMINARY INJUNCTION, &
 HYLAN BLVD AUTO LLC, 1632 HYLAN BLVD                                 PERMANENT INJUNCTION
 AUTO LLC, 1239 HYLAN BLVD AUTO LLC, 2519
 HYLAN BLVD AUTO LLC, 76 FISK STREET
 REALTY LLC, 446 ROUTE 23 AUTO LLC and
 ISLAND AUTO MANAGEMENT, LLC,

                                         Plaintiffs,

                  -against-

 ANTHONY DEO, SARAH DEO, HARRY
 THOMASSON, DWIGHT BLANKENSHIP, MARC
 MERCKLING, MICHAEL LAURIE, THOMAS
 JONES, CPA, CAR BUYERS NYC INC., GOLD
 COAST CARS OF SYOSSET LLC, GOLD COAST
 CARS OF SUNRISE LLC, GOLD COAST MOTORS
 AUTOMOTIVE GROUP LLC, GOLD COAST
 MOTORS OF LIC LLC, GOLD COAST MOTORS OF
 ROSLYN LLC, GOLD COAST MOTORS OF
 SMITHTOWN LLC, UEA PREMIER MOTORS
 CORP., DLA CAPITAL PARTNERS INC., JONES,
 LITTLE & CO., CPA'S LLP, FLUSHING BANK, and
 LIBERTAS FUNDING LLC,

                                          Defendants.
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           Emanuel Kataev, Esq., declares, pursuant to 28 U.S.C. § 1746, under penalty of perjury,

  that the following is true and correct:
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         1.      I am admitted to practice before this Court and am a partner of Milman Labuda

  Law Group PLLC, attorneys for the Plaintiffs Superb Motors Inc., Team Auto Sales LLC, and

  Robert Anthony Urrutia (“Urrutia”) in this case.

         2.      As such, I am familiar with all the facts and circumstances heretofore had herein

  based upon my personal knowledge and a review of the file maintained by this office.

         3.      The above-entitled case is brought for the purpose of, inter alia, obtaining a

  temporary restraining order and a preliminary injunction for violations committed by the

  Defendants.

         4.      No previous application for the relief herein prayed for has been made in

  this Court by Plaintiffs.

         5.      I certify that there are no frivolous contentions contained in any of Plaintiffs’

  papers submitted.

         6.      Pursuant to Rule 65 of the Federal Rules of Civil Procedure and 18 U.S.C. §

  1836(A), I certify that this ex parte application may be brought without notice to Defendants to

  secure confidential and proprietary trade secret information. See Mission Capital Advisors LLC

  v. Romaka, No. 16-cv-5878, 2016 WL 11517040 (S.D.N.Y. July 22, 2016) (entering Order of

  Seizure and discussing that the relief sought under the Defend Trade Secrets Act may be sought

  ex parte due to the risk that the defendant would make the confidential information and trade

  secrets inaccessible to the Court or retain unauthorized copies).

         7.      Notwithstanding the foregoing, because Plaintiffs also seek injunctive relief

  pursuant to the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. § 1964, on

  Saturday, August 19, 2023, I notified Defendants Anthony Deo, Sarah Deo, Harry Thomasson,

  Dwight Blankenship, Marc Merckling, Michael Laurie, and Thomas Jones, CPA of the instant

  application via email to:


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                 (i) Anthony Deo, Car Buyers NYC Inc., Gold Coast Cars of Syosset LLC, Gold

         Coast Cars of Sunrise LLC, Gold Coast Motors Automotive Group LLC, Gold Coast

         Motors of LIC LLC, Gold Coast Motors of Roslyn LLC, Gold Coast Motors of

         Smithtown LLC, UEA Premier Motors Corp. at anthonyd@northshoremotors1.com;

                 (ii) Sarah Deo at sarad@northshoremotors1.com;

                 (iii) Harry Thomasson, Esq. at hrtatty@verizon.net;

                 (iv) Dwight Blankenship dwightgcm@gmail.com;

                 (v) Marc Merckling merck17@optonline.com;

                 (vi) Michael Laurie mlaurie@dlacapital.com; and

                 (vii) Thomas Jones, CPA and Jones, Little & Co., CPA’s LLP at

         tjones@jonesandlittle.com.

         8.      No injunctive relief is currently sought against Defendants Flushing Bank and

  Libertas Funding LLC.

         9.      Defendant Harry Thomasson has written three (3) letters to your undersigned

  concerning Plaintiffs’ demands to return the vehicles and dealer plates, two (2) of which he has

  asked your undersigned to share with this Court in the event Plaintiffs seek injunctive relief.

  See copies of Thomasson’s letters dated August 9, 2023, August 11, 2023, and August 15, 2023

  annexed hereto as Exhibits “A,” “B,” and “C.” It is respectfully submitted that the factual

  assertions therein are belied by the evidence submitted in Urrutia’s declaration.

         I declare under penalty of perjury that the foregoing is true and correct. Executed on

  August 20, 2022.

                                                             /s
                                                Emanuel Kataev, Esq.




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